      Case 3:21-cv-06771-EMC Document 31 Filed 12/27/21 Page 1 of 3




 1   DAVID J. MICLEAN (SBN 115098)
 2   dmiclean@micleangleason.com
     MICLEAN GLEASON LLP
 3   1301 Shoreway Road, Suite 290
 4   Belmont, CA 94002
     Telephone: (650) 684-1181
 5
 6   SHAWN J. KOLITCH (Pro Hac Vice Pending)
 7   E-mail: shawn@kolitchromano.com
     Oregon State Bar No. 063980
 8   KOLITCH ROMANO LLP
 9   520 SW Yamhill Street, Suite 200
10   Portland, OR 97204
     Telephone: (503) 994-1650
11   Facsimile: (971) 279-4549
12
     Attorneys for Plaintiff
13
     FUTURE MOTION, INC.
14
15
                               UNITED STATES DISTRICT COURT
16
17                        NORTHERN DISTRICT OF CALIFORNIA
18   FUTURE MOTION, INC., a Delaware            Case No. 3:21-cv-06771-EMC
19   Corporation,
20
                  Plaintiff,            STIPULATION REGARDING
21                                      TIMEFRAME FOR JURISDICTIONAL
          v.                            DISCOVERY AND SUPPLEMENTAL
22
                                        BRIEFING ON THE ISSUE OF PERSONAL
23   JW BATTERIES LLC, a Texas Company, JURISDICTION
24
                  Defendant.
25

26
           On December 14, 2021, the Court issued an Order (ECF No. 30) granting Plaintiff’s
27
     motion for leave to conduct jurisdictional discovery (ECF No. 24) and deferring a ruling
28
     on Defendant’s motion to dismiss (ECF No. 16). The Court also ordered the parties to



                                                    1
      STIPULATION REGARDING JURISDICTIONAL ISSUES
          Case 3:21-cv-06771-EMC Document 31 Filed 12/27/21 Page 2 of 3




 1   promptly meet and confer regarding (1) a timeframe for Plaintiff to take jurisdictional
 2
     discovery and (2) a timeframe for the parties to file supplemental briefs regarding the issue
 3
 4   of personal jurisdiction, once jurisdictional discovery is complete. The Court instructed the
 5
     parties to file a stipulation on these matters by December 28, 2021. The parties met and
 6
 7   conferred on December 15, 2021 and reached the following agreement on the matters
 8   indicated by the Court.
 9
10             IT IS HEREBY STIPULATED by and between Plaintiff and Defendant that:

11             (1)   Defendant shall serve written responses and documents responsive to
12
     Plaintiff’s jurisdictional discovery requests no later than January 15, 2021;
13
14             (2)   Jurisdictional discovery shall be completed by January 31, 2021, including a
15
     30(b)(6) deposition if Future Motion should elect to conduct such a deposition after
16
17   reviewing documents and written responses produced by Defendant;
18
               (3)   Plaintiff shall file a supplemental brief regarding the issue of personal
19
20   jurisdiction, not to exceed 15 pages in length, no later than February 14, 2021; and
21             (4)   Defendant shall file a responsive supplemental brief regarding the issue of
22
23   personal jurisdiction, also not to exceed 15 pages in length, no later than February 28, 2021.

24             SO STIPULATED.

25   //

26   //

27   //
28   //




                                                        2
          STIPULATION REGARDING JURISDICTIONAL ISSUES
      Case 3:21-cv-06771-EMC Document 31 Filed 12/27/21 Page 3 of 3




 1   Dated: December 27, 2021              Respectfully Submitted,
 2
                                           MICLEAN GLEASON LLP
 3
 4
                                           By:      /s/ David J. Miclean
 5                                                  David J. Miclean
                                                    Attorneys for Plaintiff Future Motion, Inc.
 6
 7   Dated: December 27, 2021              Respectfully Submitted,
                                           KOLITCH ROMANO LLP
 8
 9
                                           By:      /s/ Shawn J. Kolitch
10
                                                    Shawn J. Kolitch (pro hac vice)
11                                                  Attorneys for Plaintiff Future Motion, Inc.
12
     Dated: December 27, 2021              Respectfully Submitted,
13                                         GRAY REED & MCGRAW LLP
14
15                                         By:      /s/ Eric Tautfest
                                                    Eric Tautfest
16
                                                    etautfest@grayreed.com
17                                                  GRAY REED & MCGRAW LLP
                                                    1601 Elm Street, Suite 4600
18
                                                    Dallas, TX 75201
19                                                  (469) 320-6180
                                                    Attorneys for Defendant JW Batteries LLC
20
21
22
23

24

25

26

27

28




                                                    3
      STIPULATION REGARDING JURISDICTIONAL ISSUES
